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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 STATE OF COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.



PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER REGARDING DISCLOSURE OF
      CONFIDENTIAL MATERIAL DURING GOOGLE’S CASE-IN-CHIEF

       In order to continue facilitating public access to the trial and minimizing the need to close

the courtroom while providing for the protection of confidential information as allowed under

the Federal Rules of Civil Procedure and Local Rule 5.1(h), Plaintiffs in the above-captioned

cases respectfully move the Court to enter the proposed Order Regarding The Disclosure Of

Exhibits Containing Confidential Material During Google’s Case-In-Chief.

       Pursuant to Local Civil Rule 7(m), Plaintiffs conferred with Google’s counsel prior to

filing this motion. Google does not oppose Plaintiffs’ motion.
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Dated: October 23, 2023            Respectfully submitted,


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